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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
                                        AUGUSTA DIVISION

UNITED STATES OF AMERICA               *
                                       *
                                       *
v.                                     *                             NO. 1:17-CR-00034
                                       *
REALITY LEIGH WINNER                   *
                                       *
                                       *
* * * * * * * * * * * * * * * * * * * *

                     [PROPOSED] FIFTH AMENDED SCHEDULING ORDER

          For good cause shown, the case deadlines are amended as follows:

                           Date                                        Description of Deadline
    March 30, 2018                                           Defendant’s deadline to submit to the Court all
                                                             proposed subpoenas to be issued pursuant to
                                                             Fed.R.Crim.P. 17(c)(1)1

    April 30, 2018                                           Initial Deadline for the Parties to Produce
                                                             Discovery 2

                                                  Deadline for Government’s supplemental
                                                  CIPA Section 4 motion regarding discovery
                                                  falling within the Court’s Orders dated
                                                  December 1, 2017 and February 28, 2018
    45 days from the initial deadline to produce Government’s initial Rule 16 Expert
    discovery or 30 days from the Court’s written Disclosures Due
    order    regarding      the    Government’s
    supplemental CIPA Section 4 motion,
    whichever is later



1
  The subpoenas shall direct the recipient to deliver all unclassified responsive materials to the Clerk of Court for the
United States District Court at 600 James Brown Boulevard, Augusta, Georgia 30901 in person or by Federal
Express. When the items arrive, the parties and their attorneys may inspect and copy them. Fed. R. Crim. P.
17(c)(1). Delivery of any responsive materials marked classified to a Rule 17 subpoena must be coordinated
through the Classified Information Security Officer (CISO). The Government shall have an initial opportunity to
inspect the classified items to determine whether to request deletion, redaction or substitution of any classified
information pursuant to CIPA Section 4. Any such motion shall be filed within 28 days of the delivery of the
information to the Government. Should the Government elect not to file (or fail to file) a CIPA Section 4 motion
with regard to the materials, they shall be delivered by the CISO without delay to cleared defense counsel.
2
  The parties agree that this discovery deadline is an initial production deadline. The parties acknowledge that
additional discovery may be produced after this deadline.
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    60 days from Government’s Rule 16 Expert Deadline for Defendant to Supply CISO with
    Disclosures                                     Applicable Experts’ Information for Security
                                                    Clearances
    30 days from latter of (a) Government’s Rule Defendant’s Rule 16 Expert Disclosures Due 3
    16 Expert Disclosures; or (b) receipt of
    security clearance for relevant defense expert
    15 days from the Defendant’s Rule 16 Expert Deadline for Defendant’s Amended CIPA § 5
    Disclosures                                     Notice
    30 Days from Defendant’s Rule 16 Expert Government’s Supplemental Rule 16 Expert
    Disclosures                                     Disclosures Due 4
    14 days from Defendant’s Amended CIPA § 5 Deadline for Government’s Objections
    Notice                                          Regarding Adequacy of Defendant’s CIPA § 5
                                                    Notice
    14 days from Government’s Objections Deadline for Defendant’s Response to
    Regarding Adequacy of CIPA § 5 Notice           Government’s        Objections       Regarding
                                                    Adequacy of CIPA § 5 Notice
    7 days from Defendant’s Response to Deadline for Government’s Reply in Support
    Government’s         Objections      Regarding of its Objections Regarding Adequacy of
    Adequacy of CIPA § 5 Notice                     Defendant’s CIPA § 5 Notice
    28 days from Court confirming adequacy of Deadline for Government’s CIPA § 6(a)
    the CIPA § 5 Notice, or the parties indicating Motion
    to the Court that they have resolved any issues
    without the requirement of a decision from the
    Court
    21 days from Government’s CIPA § 6(a) Deadline for Defendant’s Response to
    Motion                                          Government’s CIPA § 6(a) Motion
    14 days from Defendant’s Response to Deadline for Government’s Reply in Support
    Government’s CIPA § 6(a) Motion                 of its CIPA § 6(a) Motion
    7-14 days after Government’s Reply in Classified CIPA § 6(a) Hearing
    Support of CIPA § 6(a) Motion
    21 days from filing of a final written Order on Deadline for Government’s Motion Pursuant
    Government’s CIPA § 6(a) Motion                 to CIPA § 6(c)5
    14 days from Government’s CIPA § 6(c) Deadline for Defendant’s Response to
    Motion                                          Government’s CIPA § 6(c) Motion
    7 days from Defendant’s Response to Deadline for Government’s Reply in Support
    Government’s CIPA § 6(c) Motion                 of its CIPA § 6(c) Motion
    60 days before trial                            Deadline for final Pretrial Motions in Limine
    14 days after filing of any Pretrial Motion in Deadline for Responses to Pretrial Motions in
    Limine                                          Limine and any supplement to the

3
  The Defendant’s Rule 16 Expert Disclosures shall be filed on a rolling basis in accordance with the applicable
deadline for each disclosure.
4
  The Government’s Supplemental Rule 16 Disclosures shall be filed not later than 30 days from the Defendant’s
final expert disclosure, which shall be identified by the Defendant as such.
5
  This Scheduling Order establishes deadlines for a CIPA § 6(c) Motion, in case such motion is necessary. If no
CIPA § 6(c) Motion is necessary, the parties will meet and confer and propose to the Court new deadlines for the
remaining events in the Order.
                                                         2
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                                                 Government’s prior Response to Defendant’s
                                                 Motion relating to 404(b) evidence
7 days after filing any Response to Pretrial Deadline for Replies in Support of Pretrial
Motion in Limine                                 Motions in Limine including the prior
                                                 Defendant’s Motion relating to Rule 404(b)
                                                 evidence
14 days before trial                             Deadline for production of all Jencks Act
                                                 materials
90 days after filing of a final written order on Trial
CIPA § 6(c) Motion



      SO ORDERED this              day of March __, 2018, at Augusta, Georgia.


                                                 BRIAN K. EPPS
                                                 UNITED STATES MAGISTRATE JUDGE
                                                 SOUTHERN DISTRICT OF GEORGIA




                                            3
